
IN RE: Fair, Gregory T. Sr.; — Plaintiffs); Applying for Supervisory and/or Remedial Writs; Parish of Jefferson 24th Judicial District Court Div. “P” Number 95-1012
Writ granted in part; otherwise denied. The sentencing transcript and Department of Public Safety and Corrections records show that the trial court did not suspend any portion of the sentences on counts 13-77. Because a sentencing judge may impose restitution only when he suspends sentence, La.C.Cr.P. art. 895.1(A); State v. Narcisse, 97-3161 (La.7/22/98), 714 So.2d 698, the case is remanded to the district court for resentencing on those counts.
VICTORY, J., not on panel.
